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14                                 UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                               Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE
      COUNTY AND MUNICIPAL EMPLOYEES,                      PLAINTIFFS’ NOTICE OF MOTION AND
19
      AFL-CIO, et al.,                                     MOTION TO COMPEL COMPLIANCE
20                                                         WITH PRELIMINARY INJUNCTION OR
               Plaintiffs,                                 TO HOLD DEFENDANTS IN CONTEMPT
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

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27

28

     Plfs’ Notice of Motion and Motion to Compel Compliance with Preliminary Injunction or to Hold
     Defendants in Contempt, No. 3:25-cv-01780-WHA
     Case 3:25-cv-01780-WHA            Document 155        Filed 03/26/25      Page 2 of 22




 1                                NOTICE OF MOTION AND MOTION

 2          PLEASE TAKE NOTICE THAT at 8:00 a.m. on April 9, in Courtroom 12, 19th Floor,

 3   United States District Court, Northern District of California, located at 450 Golden Gate Avenue,

 4   San Francisco, CA, Plaintiffs will and hereby do move to compel compliance with the Court’s

 5   March 13, 2025 preliminary injunction, or to hold Defendants in contempt of this Court’s orders.

 6          The Motion will be made on the grounds that Defendants are in violation of this Court’s

 7   March 13, 2025, preliminary injunction, Dkt. 120, in two ways: (1) by failing to communicate to

 8   unlawfully terminated employees the information ordered by the Court, and (2) by placing

 9   employees whom the Court ordered to be immediately reinstated only on “administrative leave”

10   rather than returning them to active service. Defendants’ noncompliance is established in their

11   own reporting to this Court, specifically Dkt. 127-1–127-6, Dkt. 139, Dkt. 139-3, Dkt. 141, and

12   Dkt. 144-1–144-8.

13          Pursuant to this Court’s authority to enforce its own orders, Plaintiffs respectfully request

14   that unless Defendants establish full compliance with the Court’s preliminary injunction by the

15   date of their opposition brief (which the Court ordered to be filed by noon on March 31, 2025), the

16   Court should enter an order setting a date certain for compliance by Defendants and requiring daily

17   status reports until compliance is achieved; and if any Defendants fail to come into compliance by

18   that date certain, to find those Defendants in contempt, and impose prospective, conditional civil

19   sanctions for each day thereafter that those Defendants remain out of compliance.

20          This Motion is supported by the accompanying Memorandum in Support; all papers on file

21   in this action; and such argument as may be heard by the Court.

22

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     Defendants in Contempt, No. 3:25-cv-01780-WHA                                                          1
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     Defendants in Contempt, No. 3:25-cv-01780-WHA                                                        2
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     Plfs’ Notice of Motion and Motion to Compel Compliance with Preliminary Injunction or to Hold
     Defendants in Contempt, No. 3:25-cv-01780-WHA                                                   3
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14                                   UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION

17
      AMERICAN FEDERATION OF                                  Case No. 25-cv-01780-WHA
18
      GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                          PLAINTIFFS’ MEMORANDUM IN
19
      COUNTY AND MUNICIPAL EMPLOYEES,                       SUPPORT OF MOTION TO COMPEL
20    AFL-CIO; et al.,                                      COMPLIANCE WITH PRELIMINARY
                                                            INJUNCTION OR TO HOLD
21             Plaintiffs,                                  DEFENDANTS IN CONTEMPT
22        v.
23
      UNITED STATES OFFICE OF PERSONNEL
24    MANAGEMENT, et al.,

25             Defendants.
26
27

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     Pfls’ Mem. iso Mot. to Compel Compliance or to Hold Defs. in Contempt; No. 3:25-cv-01780-WHA
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 1                                               INTRODUCTION

 2           Defendants are in violation of this Court’s March 13, 2025 preliminary injunction in two

 3   ways: (1) they have failed to communicate to unlawfully terminated employees the information

 4   ordered by the Court; and (2) they have placed employees that the Court ordered immediately

 5   reinstated on “administrative leave” rather than returning them to service.

 6           Defendants’ noncompliance is demonstrated by their own declarations and filings. This Court

 7   has made clear that placing employees who were unlawfully terminated at the Office of Personnel

 8   Management’s (“OPM”) direction and are covered by this Court’s preliminary injunction on

 9   administrative leave does not satisfy the injunction’s requirement to immediately reinstate those

10   workers. Yet Defendants’ declarations and purported compliance lists establish that, as of several

11   days after the Court’s order, almost none of the tens of thousands of terminated employees had been

12   returned to service at their respective defendant agencies. Rather, those workers had been placed on

13   administrative leave by Defendants, with no indication when, if ever, they will be reinstated to their

14   jobs. Similarly, despite this Court’s order to notify those employees that the United States District

15   Court has held their termination was unlawful, Defendants’ purported compliance filings fail to make

16   any showing that four of the six relief agencies have made any effort whatsoever to notify their

17   employees as to the unlawfulness of the terminations, and admit that the two other relief agencies

18   have not yet notified all of their probationary employees as instructed by the Court.

19           The terms of the Court’s preliminary injunction were specific, definite, and clear. Defendants

20   have no defense for their apparent decisions not to comply with the order. Unless Defendants

21   establish full compliance with the Court’s preliminary injunction by the date of their opposition

22   (March 31, 2025), Plaintiffs respectfully request that the Court enter an order setting a date certain for

23   compliance by Defendants and requiring daily status reports until compliance is achieved. If any

24   Defendants fail to come into compliance by that date certain, Plaintiffs request that the Court hold

25   those Defendants in contempt and impose prospective, conditional civil sanctions for each day

26   thereafter that those Defendants remain out of compliance.
27

28

     Pfls’ Mem. iso Mot. to Compel Compliance or to Hold Defs. in Contempt; No. 3:25-cv-01780-WHA         1
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 1                                                BACKGROUND

 2           This case involves OPM’s unlawful direction to federal agencies to terminate all probationary

 3   employees except those whom OPM allowed agencies to deem “mission critical,” which resulted in

 4   the unlawful termination of tens of thousands of federal employees. Dkt. 90. On February 27, 2025,

 5   this Court concluded that the “mountain” of evidence submitted by Plaintiffs supported the

 6   conclusion that OPM had directed the terminations government-wide. Dkt. 45 at 8. The Court also

 7   concluded that OPM lacked the authority and to give such direction, and its acts were therefore likely

 8   ultra vires and violated the Administrative Procedures Act. Dkt. 44 at 5:1, 67:9-19; Dkt. 45 at 8, 21.

 9           On March 10, 2025, this Court granted Plaintiffs leave to amend their Complaint to add the

10   federal agencies that implemented OPM’s unlawful orders as Rule 19 defendants for purposes of

11   effectuating relief for OPM’s unlawful acts. Dkt. 88; Dkt. 90. Plaintiffs were also granted leave to

12   add plaintiffs and to submit additional evidence in support of their motion for preliminary injunction,

13   scheduled to be heard on March 13, 2025. Dkt. 88 at 1; Dkt. 100. Both parties were provided the

14   opportunity to present witnesses in support of their factual position, and to cross-examine the other

15   side’s witnesses at that hearing; Defendants refused to produce any witnesses, notwithstanding an

16   attempt to “withdraw” one declaration and substitute another, and declined to cross-examine

17   Plaintiffs’ declarants. See Dkt. 75; Dkt. 86; Dkt. 89; Dkt. 96; Dkt. 97; Dkt. 110.

18           On March 13, 2025, after a lengthy hearing, this Court found again that the probationary

19   employees had likely been unlawfully terminated and issued a preliminary injunction that, as relevant

20   here, ordered six relief defendant agencies to:

21           (1) “immediately offer reinstatement to any and all probationary employees terminated on or

22   about February 13th and 14th, 2025” (Dkt. 120 at 52:7-10, 53:17-25); and

23           (2) “immediately advise all probationary employees terminated on or about February 13 and

24   14 that the notice and termination have been found to be unlawful by the United States District Court

25   for the Northern District of California.” (Id. at 52:14-21, 53:17-25).

26           The relief agencies subject to this Order are the Department of Agriculture (“USDA”), the
27   Department of Defense (“DoD”), the Department of Energy (“DOE”), the Department of the Interior

28

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 1   (“DOI”), the Department of Treasury (“Treasury”), and the Department of Veterans Affairs (“VA”).

 2   Id. at 52:7-24; 53:17-25.

 3           The Court ordered the agencies to submit a compliance report within seven days, on March

 4   20, 2025, providing “a list of all probationary employees terminated on or about February 13th and

 5   14th with an explanation as to each of what has been done to comply with this order.” Id. at 53:13-

 6   16.

 7           The Court also concluded, and expressed several times, that Defendants’ actions with respect

 8   to evidence and witnesses had frustrated the Court’s ability to find facts. Id. at 8:6-12 (“[T]he

 9   Government, I believe, had tried to frustrate the Judge’s ability to get at the truth of what happened

10   here and then set forth sham declarations….”), 8:13-16 (“I had expected to have an evidentiary

11   hearing today in which these people would testify…[b]ut instead, we’ve been frustrated in that.”),

12   15:22-24 (“You will not bring the people in here to be cross-examined. You’re afraid to do so

13   because you know cross-examination would reveal the truth.”), 16:14-16 (“[Y]ou’re not helping me

14   get at the truth. You’re giving me press releases, sham documents.”), 25:9-17 (“[I]f you’re going to

15   give me an administrative record, let’s do an honest one and a complete one and not one that is

16   sanitized.”). In particular, in defending against Plaintiffs’ motion for preliminary injunctive relief,

17   Defendants submitted declarations only from two OPM officials (one of which, from Acting OPM

18   Director Charles Ezell, was subsequently withdrawn in an attempt to avoid deposition or hearing

19   testimony, in violation of this Court’s orders, Dkt. 97). Prior to the Court’s issuance of a preliminary

20   injunction, Defendants submitted no testimony from any agency witness. The Court therefore

21   concluded: “Virtually all the foregoing facts were uncovered by counsel for plaintiffs. Defendants

22   have provided virtually no transparency.” Dkt. 132 at 8.

23           Rather than comply with the preliminary injunction, on Friday, March 14, 2025, Defendants

24   sought a stay in this Court, supported by six new declarations from agency witnesses explaining

25   why they were not complying. Dkt. 127-1-6. Then, rather than wait for a ruling from this Court,

26   Defendants that same day sought a stay from the Ninth Circuit, relying on these new declarations
27   from the relief defendants. Emergency Motion for Stay Pending Appeal and Administrative Stay,

28   AFGE v. OPM, No. 25-1677 (9th Cir. Mar. 14, 2025). On Saturday, March 15, 2025, this Court

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 1   denied the requested stay. Dkt. 133. On Monday, March 17, 2025, the Ninth Circuit similarly

 2   denied Defendants’ request for an administrative stay. Order Denying Administrative Stay, AFGE

 3   v. OPM, No. 25-1677 (9th Cir. Mar. 17, 2025).1

 4           On March 17, 2025, this Court issued an order stating that it had come to the Court’s

 5   attention that instead of being reinstated to their jobs, probationary employees were being “placed

 6   on administrative leave en masse.” Dkt. 138. The Court stated: “This is not allowed by the

 7   preliminary injunction, for it would not restore the services the preliminary injunction intends to

 8   restore.” Id. The Court directed Defendants to provide an explanation. Id.

 9           On March 18, 2025, Defendants submitted to the Court copies of declarations that had been

10   filed in a separate action, State of Maryland v. United States Department of Agriculture, D.

11   Maryland Case No. 1:25-cv-00748-JKB, see Dkt. 139, 139-3, which included declarations from

12   five of the six departments subject to this Court’s injunction (DOE, DOI, Treasury, USDA, and the

13   VA). See Dkt. 139, 139-3. The Court promptly ordered Defendants to provide the missing

14   explanation from the sixth relief defendant DoD, Dkt. 140, which Defendants submitted on March

15   19, 2025, Dkt. 141.

16           The Maryland declarations that were prepared for a different lawsuit and the additional

17   Department of Defense declaration neither state nor explain that the relevant defendant agencies

18   have complied with the orders of this Court. In particular, nowhere do those declarations state

19   that the six relief defendants have communicated to their probationary employees the information

20   required by this Court—namely, that their terminations have been found to be unlawful by the

21

22

23
     1
       As of the filing of this motion, the Ninth Circuit has not ruled on Defendants’ motion to stay the
24   preliminary injunction pending appeal, notwithstanding Defendants’ request on Thursday March 20,
     2025, filed along with its reply, for a resolution by 12 p.m. on Friday, March 21, 2025 and statement
25   that they intended to take the issue to the U.S. Supreme Court by Friday afternoon. Reply in Support
     of Motion for Stay Pending Appeal, AFGE v. OPM, No. 25-1677 (9th Cir. Mar. 20, 2025). On March
26   24, 2025, rather than waiting for the Ninth Circuit to rule on their pending stay request, Defendants
     filed a motion for an “immediate” administrative stay and stay pending resolution of the appeal from
27   this Court’s preliminary injunction (or, if the Ninth Circuit denied a stay pending appeal, pending
     resolution of a certiorari petition) with the U.S. Supreme Court. Application for Stay, OPM v. AFGE,
28   No. 24A904 (U.S. Mar. 24, 2025).

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 1   United States District Court for the Northern District of California, Dkt. 120 at 52:14-21, 53:17-

 2   25, and that they are being offered reinstatement to their positions, id. at 52:7-10, 53:17-25.

 3           Further, Defendants’ declarations state that probationary employees at the relevant agencies

 4   have indeed been placed on administrative leave rather than reinstated to their positions. Those

 5   declarations establish that by March 17, 2025:

 6       •   The VA placed 1,683 previously terminated probationary employees on administrative
             leave (Engelbaum Decl. ¶¶6, 10 (Dkt. 139-3 at p.60-61 of 67) (VA));
 7
         •   USDA placed 5,714 previously terminated probationary employees on administrative
 8           leave (Pletcher Rice Decl. ¶5 (Dkt. 139-3 at p.57 of 67) (USDA));
 9       •   DOE placed 555 previously terminated probationary employees on administrative
             leave (Trznadel Decl. ¶¶10-11 (Dkt. 139-3 at p.7 of 67) (DOE));
10
         •   Treasury plans to place approximately 7,600 previously terminated probationary
11           employees on administrative leave (Norris Decl. ¶¶10-11 (Dkt. 139-3 at p.55 of 67)
             (Treasury));
12
         •   DoD will place the 364 previously terminated (or “separated” pending termination)
13
             employees on administrative leave, the vast majority of whom have not apparently
14           been contacted (and are described as “pending notification”). (Dill Decl. ¶¶5-6 (Dkt.
             141-1 at p.2 of 3) (DoD)).
15
             DOI’s declaration failed to provide any information at all regarding how or in what capacity
16
     the approximately 1700 previously terminated probationary DOI employees are being reinstated
17
     beyond “cancelling termination.” Green Decl. ¶¶12-13 (Dkt. 139-3 at p.31-32 of 67) (DOI).
18
             On March 20, 2025, Plaintiffs submitted their response to Defendants’ submissions to the
19
     Court, which explained the ways that Defendants had failed to comply with this Court’s injunction.
20
     Dkt. 142. Plaintiffs also submitted additional evidence that DOI employees are primarily being
21
     placed on administrative leave rather than returned to active service, Dkt. 142, including the
22
     following:
23
         •   On March 17, 2025, the Park Superintendent at the Gettysburg National Military Park told the
24
             AFGE local union president that “she had received no guidance, plans, or authority from her
25
             supervisors to reinstate terminated probationary employees as required by the District Court’s
26
             decision.” Cochran Decl. ¶10 (Dkt. 142-1); see also id. ¶8 (terminated probationary
27
             employees at Gettysburg National Military Park and the Eisenhower National Historic Site
28

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 1           have not received any communications regarding reinstatement). The Superintendent

 2           subsequently informed him that there are two lists of previously terminated probationary

 3           employees at the National Park Service (“NPS”): a “mission-critical” list of employees who

 4           will be restored to active service, and a list of those who will only be restored to

 5           administrative leave. Id. ¶11.

 6       •   Another terminated probationary employee was first contacted by her supervisor about
 7           reinstatement on March 19, 2025, and informed that “I was being placed on indefinite

 8           administrative leave. Finally, my supervisor told me that I had the option to remain on

 9           administrative leave or to voluntarily resign.” Hoover Decl. ¶7 (Dkt. 142-3).

10       •   Another employee received an email from her supervisor on March 19, 2025, stating: “You

11           may hear that other terminated probationary employees have been asked to return to the

12           workplace. Only those employees that have been classified by NPS as ‘key to public safety,

13           national security, and critical park operations’ are being asked to return at this time.

14           Unfortunately, your position was not included in this designated group.” Coffey Decl. ¶7 &

15           Exh. B (Dkt. 142-2).

16           On March 20, 2025, Defendants submitted their Notice Filing of Certain Agency Declarations

17   and Redacted Agency Lists of Employees, as ordered by this Court’s March 13, 2025 preliminary

18   injunction. Dkt. 144. Defendants provided spreadsheets from all six agencies, but only three of those

19   addressed whether employees had been returned to administrative leave status or service. Dkt. 144-2

20   (DoD); 144-4 (DOI); 144-6 (VA). Those three agencies confirmed that to the extent they have

21   contacted employees and reinstated them as employed, they have placed them in administrative leave

22   status rather than returned to service. The other three agencies reported only whether employees had

23   been contacted, and told this Court nothing further about the employees’ actual employment status,

24   see Dkt. 144-1 (USDA); 144-3 (Energy); 144-5 (Treasury), despite admitting to this Court in the

25   Maryland declarations filed two days earlier that the employees had been placed on administrative

26   leave. Those spreadsheets and two accompanying new declarations (from USDA and DoD) reveal
27   that as of one week after this Court’s injunction, very few previously terminated probationary

28   employees, at only two of the six agencies, have actually been returned to service. Dkt. 144-4

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 1   (Interior: only 11 of 1875 probationary workers returned to service); Dkt. 144-2 and Dill Decl. (Dkt.

 2   144-7) (DoD: only 4 of 178 DoD’s identified terminated probationary employees were confirmed to

 3   have been restored to duty); see also Dkt. 144-6 (VA: not a single identified VA employee was

 4   designated as having returned to duty under the column “On Duty Y/N.”).

 5           On March 21, 2025, the Court set a briefing schedule for Plaintiffs to file “a proper

 6   motion to compel compliance and/or to seek contempt of court” by Wednesday, March 26,

 7   2025, at noon. Dkt. 152.

 8                                                  ARGUMENT

 9   I.      Defendants Have Failed to Comply and Therefore Are In Contempt Of This Court’s

10           Preliminary Injunction

11           A. Legal Standard

12           “The Supreme ‘Court has long recognized that a district court possesses inherent powers that

13   are governed not by rule or statute but by the control necessarily vested in courts to manage their own

14   affairs so as to achieve the orderly and expeditious disposition of cases.’” Cahill v. Insider Inc., ---

15   F.4th ----, 2025 WL 838264, at *4 (9th Cir. Mar. 18, 2025) (quoting Dietz v. Bouldin, 579 U.S. 40, 45

16   (2016). “Those powers include the inherent authority of a court to enforce its orders by whatever

17   means.” Id. (quotation omitted); see also United States v. Yacoubian, 24 F.3d 1, 5 (9th Cir. 1994)

18   (“There is no question that courts have inherent power to enforce compliance with their lawful

19   orders.”) (citation omitted).

20           In particular, courts have “inherent power to enforce compliance with their lawful orders

21   through civil contempt.” Spallone v. United States, 493 U.S. 265, 276 (1990). Contempt is available

22   “when the district court finds by clear and convincing evidence that a party ‘violated a specific and

23   definite order of the court.’” Parsons v. Ryan, 949 F.3d 443, 454 (9th Cir. 2020) (quoting Stone v.

24   City and County of San Francisco, 968 F.2d 850, 856 n.9 (9th Cir. 1992). “The contempt need not be

25   willful, and there is no good faith exception to the requirement of obedience to a court order.” In re

26   Dual-Deck Video Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (quotation
27   omitted).

28           Upon a showing of a violation, the burden shifts to the defendant to show a defense to such

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 1   non-compliance. Stone, 968 F.2d at 856 n.9. A defendant will not be held in contempt if his action is

 2   “based on a good faith and reasonable interpretation” of the court’s order. Dual-Deck Video

 3   Cassette, 10 F.3d at 695. “Substantial compliance” is a defense only if a defendant establishes that it

 4   has “taken all reasonable steps to comply with applicable court orders, resulting in merely technical

 5   or inadvertent violations.” Coleman v. Newsom, --- F.4th ----, 2025 WL 851077, at *4 (9th Cir. Mar.

 6   19, 2025) (quotation omitted). “[T]he impossibility defense arises only from literal impossibility that

 7   disables the alleged contemnor from complying with the court’s orders.” Id. at *8 (italics in original).

 8           B. Defendants Have Violated, and Continue to Violate, this Court’s Preliminary

 9               Injunction.

10           The requirements of the preliminary injunction order are “specific and definite.” Parsons,

11   949 F.3d at 454. The Court ordered the six relief defendants to (1) “immediately offer reinstatement

12   to any and all probationary employees terminated on or about February 13th and 14th” and (2)

13   “immediately advise all probationary employees terminated on February 13 and 14 that the notice

14   and termination have been found to be unlawful” by the Court. Dkt. 120 at 52:7-21.

15           Yet the record before the Court clearly demonstrates that the six agencies did not

16   “immediately reinstate” their probationary employees as required by the Court’s order. Supra at 4-7.

17   Instead, Defendants’ own declarations and compliance productions expressly admit that they have

18   placed the vast majority of affected employees—potentially more than 15,000 employees in total—on

19   administrative leave. See Dkt. 139-3; Dkt. 144-1–144-6. This means those employees have not been

20   returned to their positions or resumed performing their job duties. See Coffey Decl. ¶7 (Dkt. 142-2)

21   & Exh. B (“At this time, we are not asking you to return to the workplace.”). Because administrative

22   leave does not “restore the services the preliminary injunction intends to restore,” this defies the

23   Court’s orders. Dkt. 138.

24           Although counsel for Defendants attempts to represent to the Court that administrative leave

25   “is merely a first part of a series of steps to reinstate probationary employees,” Dkt. 139 at 1, the

26   declarations submitted by the agencies themselves belie that assertion.
27           Treasury and the VA simply state that employees are being returned to administrative leave

28   and make no further representations:

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 1             Treasury: “Upon reinstatement, Treasury will place each affected employee in Administrative

 2   Leave status.” Norris Decl. ¶10 (Dkt. 139-3 at p.55 of 67) (Treasury); see also Dkt. 144-5

 3   (Treasury).

 4             VA: “[H]as for all intents and purposes, reinstated all Affected Probationary Employees,

 5   placing them in an initial administrative leave status with full pay and benefits.” Engelbaum Decl.

 6   ¶10 (Dkt. 139-3 at p.61 of 67) (VA); see also Dkt. 144-6 (VA).

 7             DOI, in its list of terminated probationary employees, also revealed that nearly all these

 8   employees were merely returned to administrative leave. Dkt. 144-4 (DOI).

 9             Even the three agencies that do refer to steps toward reinstatement to service have not

10   provided any date by which a return to service will occur:

11             DOE: “All Affected Probationary Employees have been placed in a retroactive Administrative

12   Leave status that will continue until their badging and IT access are restored, at which time they will

13   be converted to an Active Duty status.” Trznadel Decl. ¶11 (Dkt. 139-3 at p.7 of 67) (DOE); see also

14   Dkt. 144-3 (DOE).

15             USDA: “As part of a phased plan for return-to-duty, upon returning to pay status, the Affected

16   Probationary Employee will initially be placed on paid administrative leave. … USDA is acting

17   diligently to complete the administrative steps related to notifying the Affected Probationary

18   Employees of their reinstatement, processing the reinstatements for purposes of all relevant USDA

19   record systems, and returning the reinstated employees to duty status.” Pletcher Rice Decl. ¶¶5-7

20   (Dkt. 139-3 at p.57 of 67) (USDA); see also Pletcher Rice Decl. ¶¶5, 11 (Dkt. 144-8) (USDA)

21   (same).

22             DoD: The declaration indicates that at least some “[e]mployees with pending termination

23   notices” or “[p]reviously terminated employees who have been reinstated” will be on administrative

24   leave until “their completion of onboarding procedures.” Dill Decl. ¶6 (Dkt. 141-1) (DoD).

25             None of this complies with this Court’s order requiring immediate reinstatement.

26             Moreover, while Defendants sought to convince the Court that reinstatement to duty would be
27   overly burdensome (which this Court correctly rejected in denying a stay, Dkt. 133), that claim is also

28   belied by the actions of some agencies following this Court’s TRO or the District of Maryland court

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 1   order, which was also issued March 13, 2025. In particular, in the four days between Thursday

 2   March 13, 2025 and Monday, March 17, 2025, the Department of Transportation (“DOT”) notified

 3   all 775 terminated probationary employees of their reinstatement, and by Thursday, March 20, 2025,

 4   all impacted employees were returned to active service. Byrd Decl. ¶12 (Dkt. 139-3 at p.20 of 67)

 5   (DOT). By the Monday after this Court’s temporary restraining order, the National Science

 6   Foundation brought everyone back. Dkt. 90 at ¶142. If, as Defendants’ counsel claims,

 7   administrative leave is just the first step, then there is no valid reason that Defendants cannot

 8   promptly take the additional steps that are required by this Court’s order.

 9           Additionally, Defendants’ declarations and submissions do not establish compliance with

10   Court’s order that the agencies “immediately advise” the probationary employees that their

11   termination has been found unlawful by this Court. As of March 20, 2025, the Department of

12   Defense declaration states that employees have yet to be notified (and “anticipates” they can

13   complete this “by the end of this week”). Dill Decl. ¶5 (Dkt. 144-7) (DoD); see also Dkt. 144-2

14   (DoD). The USDA March 20, 2025 declaration states that employees were notified via a press

15   release that was “updated” on March 19, 2025, and that “USDA is in the process of completing a

16   second notification to the probationary employees to be clear that this is based on the MSPB order

17   and this Court’s Order.” Pletcher Rice Decl. ¶¶ 5, 7 (Dkt. 144-8) (USDA); see also Dkt. 144-1

18   (USDA). Defendants submitted no declarations from other agencies addressing how they complied

19   with this order to notify employees.2

20           Given that Defendants’ violations of the preliminary injunction are established by

21   Defendants’ own declarations and filings purporting to show compliance, and that there is no contrary

22   evidence in the record to date, the “clear and convincing evidence” standard is easily satisfied here.

23           C. Defendants Have No Defenses to a Contempt Finding.

24           Defendants cannot contend that their actions are based on a “good faith and reasonable

25

26   2
       The VA’s spreadsheet indicates that “recission notices” were conveyed by supervisors to some but
     not all employees. Dkt. 144-6 (VA). Treasury’s spreadsheet indicates that “Email and Letter notice”
27   was conveyed to employees but provides no detail on the notice content. Dkt. 144-5 (Treasury). The
     other agencies’ spreadsheets indicate no information regarding compliance with this order. Dkt. 144-
28   3 (DOE); 144-4 (DOI).

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 1   interpretation” of the preliminary injunction, Dual-Deck Video Cassette, 10 F.3d at 695, because

 2   Defendants have already conceded that placing unlawfully terminated probationary employees into

 3   administrative leave status does not comply with this Court’s preliminary injunction. Dkt. 139.

 4   Rather than make any attempt to show compliance, Defendants have simply defied this Court’s

 5   orders, submitting declarations to this Court that explained why they were not complying, Dkt. 127-

 6   1-6; why they were complying only with a different court’s order and not this Court’s, Dkt. 139-3;

 7   and providing incomplete information that does not establish compliance (and to the extent it does

 8   provide information, confirms the mass placement of employees onto administrative leave), Dkt. 144-

 9   1–Dkt. 144-8.

10           Putting what appears to be the vast majority of affected workers on administrative leave rather

11   than reinstating them to their jobs is not “substantial compliance” that results in merely “technical or

12   inadvertent” violations of the order to immediately reinstate the workers. Coleman, 2025 WL

13   851077, at *4. Despite multiple opportunities to update this Court on compliance, several defendant

14   agencies still appear to be using administrative leave status as an attempted loophole for nearly all of

15   the impacted employees, Dkt. 144-6 (VA); Dkt. 144-5 (Treasury); Dkt. 144-4 (DOI), while others

16   still maintain that administrative leave is a stepping stone to reinstatement at some hypothetical and

17   unidentified future date, but show limited progress to this end, Trznadel Decl. ¶11 (Dkt. 139-3 at p.7

18   of 67) (DOE); Dkt. 144-3 (DOE); Pletcher Rice Decl. ¶7 (Dkt. 139-3 at p.57 of 67) (USDA); Dkt.

19   144-1 (USDA); Pletcher Rice Decl. (Dkt. 144-8) (USDA); Dill Decl. ¶6 (Dkt. 141-1) (DoD); Dkt.

20   144-2 (DoD); Dill Decl. (Dkt. 144-7) (DoD). Even if administrative leave could be considered a

21   significant step towards immediate reinstatement (which it certainly is not), “merely taking

22   significant steps toward implementing a decree [still] falls far short of substantial compliance.”

23   Coleman, 2025 WL 851077, at *5 (quotation omitted). The substantial compliance defense is

24   available only where a defendant “has achieved near-total compliance through the exhaustion of all

25   reasonable efforts,” id. at *4 (italics in original)—which Defendants plainly have not done.

26           Having never previously contended that it would be impossible to comply with the
27   preliminary injunction (a claim belied by Defendants’ own declarations), Defendants cannot do so

28   now. A defendant asserting an inability to comply with an order cannot merely claim that

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 1   compliance would be “difficult or expensive,” but must show “categorically and in detail” that

 2   compliance would be “factually impossible.” Coleman, 2025 WL 851077, at *7-8. But it is not

 3   impossible for defendant agencies to reinstate these workers, all of whom were fully employed by

 4   Defendants just five to six weeks ago. As the Ninth Circuit held, this is merely a “return to the status

 5   quo ante.” Order Denying Administrative Stay, AFGE v. OPM, No. 25-1677 (9th Cir. Mar. 17,

 6   2025).

 7            For all of these reasons, it is fully appropriate for the Court to find that relief defendant

 8   agencies are in violation of the preliminary injunction.

 9   II.      This Court Should Order Compliance, and If Defendants Fail Again, Hold Defendants

10            in Civil Contempt.

11            Unless Defendants’ March 31, 2025 response to this motion establishes their compliance, or

12   at the very least provides the Court with a date certain by which employees will be restored to service

13   by each agency, this Court should issue an order setting a final compliance deadline of five business

14   days following any order granting this motion, and compelling the relief defendant agencies to

15   comply with the Court’s March 13, 2025 preliminary injunction by that date certain. Plaintiffs also

16   respectfully request that the Court order Defendants to provide the Court with daily compliance

17   reports establishing their progress towards complete compliance.

18            If Defendants are not in compliance with this Court’s preliminary injunction by the date

19   certain set by this Court, Plaintiffs request that the Court find those non-compliant Defendants in

20   contempt, order that those Defendants come into immediate compliance with the preliminary

21   injunction, and impose a civil contempt sanction on each Defendant for each day that Defendant

22   remains out of compliance with the preliminary injunction, in an amount to be determined by the

23   Court.

24            A civil contempt sanction is one that “coerces compliance with a court order or is a remedial

25   sanction meant to compensate the complainant for actual losses.” Parsons, 949 F.3d at 455. Where

26   the fine is intended to coerce compliance, a court must consider “the character and magnitude of the
27   harm threatened by continued contumacy, and the probable effectiveness of any suggested sanction in

28   bringing about the result desired.” Coleman, 2025 WL 851077, at *11. “Prospective, conditional

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 1   fines” like those Plaintiffs propose are “the paradigmatic coercive contempt sanction.” Parsons, 949

 2   F.3d at 455; see United States v. Ayres, 166 F.3d 991, 995 (9th Cir. 1999).

 3           The Court has already found that the organizational Plaintiffs have suffered irreparable harm

 4   from the immediate impairment of public services caused by the unlawful termination of relief

 5   defendant agencies’ employees. Dkt. 120 at 57:5-8; 59:5-10; Dkt. 132 at 1, 13. Those irreparable

 6   harms have continued as a result of Defendants’ noncompliance, because placing workers on

 7   administrative leave “does not restore the services the preliminary injunction intends to restore.”

 8   Dkt. 138. Fining the agencies for each day of noncompliance would therefore be appropriate to “spur

 9   Defendants’ compliance” with the injunction in order to restore these vital services. Parsons, 949

10   F.3d at 457. Imposing a daily sanction is likely to be an “effective and short-lived tool that creates

11   compliance” with the preliminary injunction. Id. This sanction would also be appropriately

12   conditional, as it allows each agency Defendant to avoid the imposition of any fine at all by

13   individually coming into compliance with the injunction by the date set by the Court. See Coleman,

14   2025 WL 851077, at *9.

15           Finally, if the Court holds Defendants in contempt, Plaintiffs request that the Court award

16   Plaintiffs their attorneys’ fees and costs incurred in litigating this Motion to Compel Compliance.

17   See e.g., Loc. 28 of Sheet Metal Workers’ Int’l Ass’n v. E.E.O.C., 478 U.S. 421, 444 n.23 (1986)

18   (attorneys’ fees are a common contempt sanction to compensate plaintiff for losses sustained in

19   enforcing compliance); Reno Air Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1130 (9th Cir. 2006)

20   (same); In re Dyer, 322 F.3d 1178, 1195 (9th Cir. 2003) (“attorneys’ fees are an appropriate

21   component of a civil contempt award”).

22                                                 CONCLUSION

23           For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’

24   Motion to Compel Compliance or to Hold Defendants in Contempt for their non-compliance with this

25   Court’s preliminary injunction.

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